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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                       Case No: 21-cr-75 ECT


               Plaintiff,

v.
                                                           ORDER OF PRELIMINARY
                                                      DETENTION PENDING HEARING
                                                      PURSUANT TO BAIL REFORM ACT
Deshawn Michael Watson,

               Defendant,
               _________________________________________________

               Upon motion of the United States it is ORDERED that a detention/preliminary

revocation hearing is set for September 30, 2022 at 11:30 a.m. before Magistrate Judge Jon T.

Huseby, CR 8E, Diana Murphy Courthouse, 300 S 4th Street, Minneapolis, Minnesota. Pending

this hearing, the Defendant shall be held in custody by the United States Marshal and produced

for the hearing.


Dated: September 28, 2022                             s/ Jon T. Huseby
                                                       Jon T. Huseby
                                                       U.S. Magistrate Judge


If not held immediately upon defendant's first appearance, the hearing may be continued for up
to three days upon motion of the Government, or up to five days upon motion of the defendant.
18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142 are present.
Subsection (1) sets forth the grounds that may be asserted only by the attorney for the
Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for
the Government or upon the judicial officer's own motion if there is a serious risk that the
defendant (a) will flee; or (b) will obstruct or attempt to obstruct justice, to threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
